(o. . Case 2:20-cv-11523-DPH-APP ECF No.1 filed 06/05/20 PagelD.1 Page1of15 ID

MIED ProSe 1 (Rev 5/16) Complaint for a Civil Case

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

 

|
Are fious Reed

(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

Vv.

Cotte er Case Go lutiens

(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please

write “see attached” in the space and attach an additional page
with the full list of names.)

 

Case: 2:20-cv-11523

Judge: Hood, Denise Page

MJ: Patti, Anthony P.

Filed: 06-5-2020 At 12:52 PM

CMP ARELIOUS REED V CORRECT CARE SOLUTIONS (SS)

Jury Trial: aK [| No

(check one)

Complaint for a Civil Case

 
 

Case 2:20-cv-11523-DPH-APP ECF No.1 filed 06/05/20 PagelD.2 Page 2of15

MIED ProSe 1 (Rev 5/16) Complaint for a Civil Case

L The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach
additional pages if needed.

Name Ave. le hates Roe

Street Address IGS = at Street _Yn it 9L
City and County Lin Co [ Qn. ar Kk, ho. xn v

State and Zip Code 1," Chay Oo. gi yf

Telephone Number 7/7 3Y ~ “b 72 - 43 os

E-mail Address Ce edace ( @ qr On | Com

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the
defendant is an individual, a government agency, an organization, or a corporation.
For an individual defendant, include the person’s job or title (if known). Attach
additional pages if needed.

Defendant No. 1

Name Cp erect Case, eS lution S

Job or Title
(if known)

Street Address 720 ES Mur bre 25 bovo Road Surte FSO
CityandCounty Afashv///e 4 Da vid gon

State and Zip Code Tenn esSee. 3 2 al 2
Telephone Number

E-mail Address
(if known)

 

 

 

Defendant No. 2

Name

Job or Title
(if known)

Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address
(if known)

 

 

 

 

 

 

 

 
Case 2:20-cv-11523-DPH-APP ECF No.1 filed 06/05/20 PagelID.3 Page 3of15

MIED ProSe | (Rev 5/16) Complaint for a Civil Case

II.

Defendant No. 3

Name

Job or Title
(if known)

Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address
(if known)

 

 

 

 

 

 

 

Defendant No. 4

Name

Job or Title
(if known)

Street Address

 

 

 

City and County
State and Zip Code
Telephone Number

E-mail Address
(if known)

 

 

 

 

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of
cases can be heard in federal court: cases involving a federal question and cases involving
diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under the United
States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C.

§ 1332, a case in which a citizen of one State sues a citizen of another State or nation and the
amount at stake is more than $75,000 is a diversity of citizenship case. In a diversity of
citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)

DW Federa question [_] Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
 

Case 2:20-cv-11523-DPH-APP ECF No.1 filed 06/05/20 PagelD.4 Page 4of15

MIED ProSe | (Rev 5/16) Complaint for a Civil Case

A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States
Constitution that are at issue in this case.

. : DiScrimpatien Unde Tithe ii
oF the, American hurt, Disabil) pres Act Y2 Us.v. Sec. la
72 U.S.C. Sec. 12102, ¥2 U5.C. See. (2132
/

AVULS.C. See.77Y, YOUS.C. See. Locod

B. If the Basis for Jurisdiction Is Diversity of Citizenship

1. The Plaintiff(s)

a. If the plaintiff is an vt f |
The plaintiff, (name) ] (CC 104 K ,

is a citizen of the State of (name) Aol aan .
wv

 

b. If the plaintiff is a corporation
The plaintiff, (name)
is incorporated under the laws of the State of (name)

 

, and has its principal place of business in the

 

State of (name)

 

(If more than one plaintiff is named in the complaint, attach an additional page
providing the same information for each additional plaintiff.)

2. The Defendant(s)

 

 

 

 

 

 

a. If the defendant is an individual
The defendant, (name) , 1s a citizen of the
State of (name) . Orisa citizen of (foreign
nation)

b. If the defendant is a corporation 7
The defendant, (name) eet Cace, So lutorg is incorporated
under the laws of the State of (name) Seb, ey tal , and
has its principal place of business in the State of (name)
Te nne CSee . Or is incorporated under the laws of
(foreign nation) , and has its principal place

 

of business in (name)

 

(If more than one defendant is named in the complaint, attach an additional
page providing the same information for each additional defendant.)

4

 

 
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MIED ProSe | (Rev 5/16) Complaint for a Civil Case
3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes
or the amount at stake—is more than $75,000, not counting interest and costs of
court, because (explain):

III. Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly
as possible the facts showing that each plaintiff is entitled to the damages or other relief sought.
State how each defendant was involved and what each defendant did that caused the plaintiff
harm or violated the plaintiff's rights, including the dates and places of that involvement or
conduct. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.
Case 2:20-cv-11523-DPH-APP ECF No.1 filed 06/05/20 PagelD.6 Page 6 of 15

MIED ProSe | (Rev 5/16} Complaint for a Civil Case

IV.

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do
not make legal arguments. Include any basis for claiming that the wrongs alleged are
continuing at the present time. Include the amounts of any actual damages claimed for the acts
alleged and the basis for these amounts. Include any punitive or exemplary damages claimed,
the amounts, and the reasons you claim you are entitled to actual or punitive money damages.

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of
litigation; (2) is supported by existing law or by a nonfrivolous argument for extending,
modifying, or reversing existing law; (3) the factual contentions have evidentiary support or, if
specifically so identified, will likely have evidentiary support after a reasonable opportunity for
further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-
related papers may be served. I understand that my failure to keep a current address on
file with the Clerk’s Office may result in the dismissal of my case.

Date of signing: L ~ Ss , 20 Qo.

o

    
  

Signature of Plaintiff
Printed Name of Plaintiff Are bats S R LE,
 

Case 2:20-cv-11523-DPH-APP ECF No.1 filed 06/05/20 PagelD.7 Page 7 of 15

MIED ProSe | (Rev 5/16) Complaint for a Civil Case

Additional Information:

 
Case 2:20-cv-11523-DPH-APP ECF No.1 filed 06/05/20 PagelD.8 Page 8 of 15

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
ARELIOUS REED,
Plaintiff, CASE NO.
Vv. JUDGE:
MJ:
CORRECT CARE SOLUTIONS,
Defendant.
 

 

Case 2:20-cv-11523-DPH-APP ECF No.1 filed 06/05/20 PagelID.9 Page 9of15

CAUSE OF ACTION: DISCRIMINATION UNDER TITLE II OF THE AMERICAN

WITH DISABILITIES ACT: CIVIL MONETARY PENALTIES INFLATION
ADJUSTMENT UNDER TITLE III OF THE AMERICAN WITH DISABILITIES ACT
OF 1990 (ADA): AMERICAN WITH DISABILITIES AND THE REHABILITATION

ACT (PRISONERS): UNDER THE 14TH AMENDMENT UNDER SECTION 1, CIVIL
RIGHTS AND EQUAL PROTECTION: 42 U.S.C. SECTION 1213: 42 U.S.C. SECTION
12102; DEFINITION OF DISABILITY: 42 U.S.C. SECTION 12132; DISCRIMINATION:
29 U.S.C. SECTION 794 NONDISCRIMINATION UNDER FEDERAL GRANTS AND
PROGRAMS: TITLE VI OF THE CIVIL RIGHTS ACT OF 1964, 42 U.S.C. SECTION
2000D; PROHIBITION AGAINST EXCLUSION FROM PARTICIPATION IN DENIAL
OF AND DISCRIMINATION UNDER FEDERALLY ASSISTED PROGRAMS ON
GROUND OF RACE, COLOR, OR NATIONAL ORIGIN: PLAINTIFF DEMANDS A

TRIAL BY JURY PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE UNDER

TITLE VI TRIALS RULE 38.
 

 

Case 2:20-cv-11523-DPH-APP ECF No. 1 filed 06/05/20 PagelD.10 Page 10of 15

1.

VERIFIED COMPLAINT

Plaintiff ARELIOUS REED, is an individual, and does business with the resident at 1515
Fort Street Unit #96, MI 48146 resides in the County of Wayne Michigan.

The Defendant CORRECT CARE SOLUTIONS, is a Corporation residing at 1283
Murfreesboro Road Suite #500, Nashville, TN 37217 and which does business in the City
of Detroit, MI and/or the City of Hamtramck, MI and throughout the State of Michigan

and/or The United States of America.

On or about May 04, 2017 approximately 4:27 p.m. Plaintiff Arelious Reed, was book in
the Wayne County Jail housing facility location and hold at the William Dickerson
Detention Facility in the City of Hamtramck, MI inmate booking number #
201700009265 on or about February 4, 2015, plaintiff was injured in a car wreck on his
job work related accident and was receiving professional treatment with his Michigan
license medical physicians, however as the Plaintiff Arelious Reed, arrive at the Wayne
County Jail housing facility plaintiff was seen by a nurse that was employed by the
Defendant Correct Care Solutions and the plaintiff explain his situation to the nurse about
what had happened and all the medication he was currently taking the Defendant Correct
Care Solutions employee’s the nurse’s has refuse to treat plaintiff with any type of
medications (discrimination on ADA) which lead the plaintiff to suffer major

medications withdrawals for his three (3) months time period. Although, later the plaintiff
 

 

Case 2:20-cv-11523-DPH-APP ECF No.1 filed 06/05/20 PagelD.11 Page 11o0f15

charges were dropped and Plaintiff Arelious Reed was released on August 8, 2017, all
exhibit(s) will be presented to the Court upon further discovery process. Furthermore,
under Civil Monetary Penalties Inflation Adjustment Under Title III of the American
with Disabilities Act of 1990 (ADA), allows the plaintiff to sue for the maximum amount

of $150,000.00.

Wherefore:

For the reasons set forth above, Plaintiff ARELIOUS REED, is seeking request relief
sought against the Defendant CORRECT CARE SOLUTIONS, under
DISCRIMINATION UNDER TITLE II OF THE AMERICAN WITH
DISABILITIES ACT: CIVIL MONETARY PENALTIES INFLATION
ADJUSTMENT UNDER TITLE III OF THE AMERICAN WITH DISABILITIES
ACT OF 1990 (ADA): AMERICAN WITH DISABILITIES AND THE

REHABILITATION ACT (PRISONERS): UNDER THE 14TH AMENDMENT
UNDER SECTION 1, CIVIL RIGHTS AND EQUAL PROTECTION: 42 U.S.C.

SECTION 1213: 42 U.S.C. SECTION 12102; DEFINITION OF DISABILITY: 42
U.S.C. SECTION 12132; DISCRIMINATION: 29 U.S.C. SECTION 794
NONDISCRIMINATION UNDER FEDERAL GRANTS AND PROGRAMS:
TITLE VI OF THE CIVIL RIGHTS ACT OF 1964, 42 U.S.C. SECTION 2000D;
PROHIBITION AGAINST EXCLUSION FROM PARTICIPATION IN DENIAL

OF AND DISCRIMINATION UNDER FEDERALLY ASSISTED PROGRAMS

 
Case 2:20-cv-11523-DPH-APP ECF No.1 filed 06/05/20 PagelD.12 Page 12 of15

ON GROUND OF RACE, COLOR, OR NATIONAL ORIGIN: PLAINTIFF

DEMANDS A TRIAL BY JURY PURSUANT TO FEDERAL RULES OF CIVIL
PROCEDURE UNDER TITLE VI TRIALS RULE 38 In the amount of $150,000.00
nevertheless, Plaintiff ARELIOUS REED, demands a trial by Jury pursuant to Federal

Rules of Civil Procedure under Title VI Trials Rule 38.
 

 

1844 (Rev. onslase 2:20-cv-11523-DPH-APETVRE WOVERSHPRY29 PagelD.13 Page 13 of 15

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the fi
provided by local rules of court. This form, approved by the Judicial Conf ence of the United States i

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF

(c) Attorneys (Firm Name, Address, and Telephone Number)

(© f16US

to Se

  

DEFENDANT

NOT
Case: 2:20-

Atte

 

 

II. BASIS OF JURISD.
O1

U.S. Government
Plaintiff

(2 US. Government
Defendant

Iv. NATURE ( OF SUIT (Place an “X” in One Box Only)
‘OR

 

oO 110 Insurance

(120 Marine

(130 Miller Act

(1) 140 Negotiable Instrument
(150 Recovery of Overpayment

& Enforcement of Judgment

(2151 Medicare Act

[152 Recovery of Defaulted
Student Loans
(Excludes Veterans)

(1) 153 Recovery of Overpayment
of Veteran’s Benefits

(2 160 Stockholders’ Suits

(7190 Other Contract

(195 Contract Product Liability

0 196 Franchise

 

£J210 Land Condemnation K
(220 Foreclosure

(1230 Rent Lease & Ejectment
(1) 240 Torts to Land

(1245 Tort Product Liability
(1290 All Other Real Property

      
 
 

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PERSONAL INJURY

C0 310 Airplane

(J 315 Airplane Product
Liability

ZF 320 Assault, Libel &
Slander

[C 330 Federal Employers’
Liability

[ 340 Marine

(D0 345 Marine Product
Liability

[CZ 350 Motor Vehicle

(CF) 355 Motor Vehicle
Product Liability

(C] 360 Other Personal
Injury

(2) 362 Personal Injury -
Medical Malpractice

LJ 440 Other Civil Rights
E.] 441 Voting

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(2 443 Housing/

Accommodations
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(J.S. Government Not a Party)

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Citizen of This State

Citizen of Another State

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Citizen or Subject of a
Foreign Country

 

 

| FORFEITURE/PENALTY:
(1625 Drug Related Seizure

PERSONAL INJURY

PTF
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-CV-11523

Judge: Hood, Denise Page
MJ: Patti, Anthony P.

Filed: 06-5-2020 At 12:52 PM
CMP ARELIOUS REED V CORRECT CARE SOLUTIONS (SS)

ling and service of pleadings or other papers as required by law, except as
in September 1974, is required for the use of the Clerk of Court for the

Cor meet Care Se lurks

Countv of Residence of First Listed Defendant Nove

Itt. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

and One Box for Defendant)

DEF PTF DEF
O 1 Incorporated or Principal Place O4 4
of Business In This State
2 1 2 Incorporated and Principal Place Os Xt: 5
of Business In Another State
3 (13> Foreign Nation Oe O16

 

(422 Appeal 28 USC 158
(F365 Personal Injury - of Property 21 USC 881 |(}423 Withdrawal
Product Liability (690 Other 28 USC 157
(2 367 Health Care/
Pharmaceutical
Personal Injury LJ 820 Copyrights
Product Liability 0 830 Patent
(1 368 Asbestos Personal (1835 Patent - Abbreviated
Injury Product New Drug Application
Liability O 840 Trademark _
PERSONAL PROPERTY : TAL!

 

D2 370 Other Fraud (9710 Fair Labor Standards

C1 371 Truth in Lending Act
CO 380 Other Personal (1720 Labor/Management
Property Damage Relations
(1 385 Property Damage (1740 Railway Labor Act
Product Liability (751 Family and Medical
Leave Act

(11790 Other Labor Litigation

Habeas Corpus: (1791 Employee Retirement
L463 Alien Detainee Income Security Act
(510 Motions to Vacate

Sentence
(D530 General
(535 Death Penalty : .

Other: ()462 Naturalization Application
(1 540 Mandamus & Other [465 Other Immigration
CJ 550 Civil Rights Actions

(0555 Prison Condition

C0 560 Civil Detainee -
Conditions of
Confinement

 

     

    

 

 

a 861 HIA (1395ff)

1862 Black Lung (923)
11863 DIWC/DIWW (405(g))
(1864 SSID Title XVI

11865 RSI (405(g))

(3870 Taxes (U.S. Plaintiff
or Defendant)

(1871 IRS—Third Party
26 USC 7609

 

Click here for: Nature of Suit Code Deseri tions.

 

OF 375 False Claims Act

O 376 Qui Tam (31 USC
3729(a))

(1 400 State Reapportionment

(J 410 Antitrust

1 430 Banks and Banking

0 450 Commerce

0 460 Deportation

1 470 Racketeer Influenced and
Corrupt Organizations

(1 480 Consumer Credit

C1 485 Telephone Consumer
Protection Act

[J 490 Cable/Sat TV

0 850 Securities/Commodities/
Exchange

CJ 890 Other Statutory Actions

(1 891 Agricultural Acts

(1 893 Environmental Matters

1 895 Freedom of Information
Act

1 896 Arbitration

(0 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

950 Constitutionality of
State Statutes

 

V. ORIGIN (Place an “X” in One Box Only)

Original
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VI. CAUSE OF ACTION

COMPLAINT:

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State Court

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ef description of causg:
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VIL. REQUESTED IN (_] CHECK IF THIS IS A CLASS ACTION
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VIII. RELATED CASE(S)

 

 

 

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JUDGE

 

    
 
 
PURSUANT TO LOCAL RULE 83.11

   

Case 2:20-cv-11523-DPH-APP ECF No.1 filed 06/05/20 PagelD.14 Page 14 of 15

 

 

 

1. Is this a case that has been previously dismissed? | [ | Yes
N
If yes, give the following information: M °
Court:
Case No.:
Judge:
2. Other than stated above, are there any pending or previously
discontinued or dismissed companion cases in this or any other [ Yes
court, including state court? (Companion cases are matters in which No

it appears substantially similar evidence will be offered or the same
or related parties are present and the cases arise out of the same
transaction or occurrence.)

If yes, give the following information:

Court:

 

Case No.:

 

Judge:

 

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